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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

SAMANTHA ALARIO, et al.,
                            Plaintiffs,
and
                                          CV 23-56-M-DWM
TIKTOK INC.,                              CV 23-61-M-DWM

               Consolidated Plaintiff,    JOINT STATUS REPORT

v.

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,
                          Defendant.
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      The parties, through their respective counsel, jointly file this status report

pursuant to the Court’s Order dated May 15, 2024. Dkt. No. 135.

      On May 15, 2024, this Court, at the joint request of the parties, stayed this

case pending resolution of Consolidated Plaintiff TikTok Inc.’s petition for review

in the D.C. Circuit (Case No. 24-1113) of the Foreign Adversary Controlled

Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 895, 955-60 (2024) (the

“Act”). Dkt. No. 135. The Court directed the parties to file a status report within

30 days of the final adjudication of the D.C. Circuit action. Id.

      On January 17, 2025, the Supreme Court affirmed the D.C. Circuit’s

decision upholding the Act as constitutional, marking the final adjudication of

Consolidated Plaintiff TikTok Inc.’s petition for review. Dkt. No. 136-1.

      On January 20, 2025, President Trump signed an Executive Order directing

his Attorney General not to take any action on behalf of the United States to

enforce the Act for 75 days in order to permit his Administration an opportunity to

determine the appropriate course of action with respect to TikTok. Dkt. No. 136-2.

      On February 6, 2025, the parties filed a joint motion to extend the stay of

proceedings in this case, pending the President’s determination of an appropriate

course of action with respect to TikTok. Dkt. No. 136.

      On February 11, 2025, the Court of Appeals extended the stay of

proceedings in the Ninth Circuit until May 12, 2025. Dkt. No. 137.


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      The parties’ joint motion to extend the stay in this Court, Dkt. No. 136, is

pending. For the reasons stated in that motion, the parties respectfully submit that

a further stay of proceedings is appropriate.


DATED this 18th day of February, 2025.


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